Case 1:17-cv-05205-NRB Document 60 Filed 01/23/18 Page 1 of 2




                                                     January 23, 2018

 Via ECF and by Fax

 The Honorable Naomi Reice Buchwald
 United States District Court for the
  Southern District of New York
 500 Pearl Street, Room 2270
 New York, NY 10007-1312

          Re:        Knight First Amendment Institute, et al. v. Trump,
                     et al., Case No. 17-CV-5205 (NRB)

                     Notice of Supplemental Authority

 Dear Judge Buchwald,

         In further support of their Cross-Motion for Summary Judgment and
 Opposition to Defendants’ Motion for Summary Judgment, Plaintiffs
 respectfully submit the Second Circuit’s recent decision in Wandering
 Dago, Inc. v. Destito, No. 16-622, 2018 WL 265383 (2d Cir. Jan. 3, 2018)
 (attached as Exhibit A).

        Wandering Dago concerned the decision of the New York State
 Office of General Services (“OGS”) to deny the plaintiff food truck
 operator’s applications to participate in the “Summer Outdoor Lunch
 Program,” a state-sponsored program that allowed food truck vendors to sell
 food on Albany’s Empire State Plaza. Id. at *1. It was undisputed that OGS
 denied the plaintiff’s applications “solely because of” the ethnic slurs in its
 name and in the names of its products. Id.

         Reversing the district court’s grant of summary judgment in
 defendants’ favor, the Second Circuit held that the denial of the plaintiff’s
 applications violated the First Amendment because it was impermissible
 viewpoint discrimination under the Supreme Court’s recent decision in
 Matal v. Tam, 137 S. Ct. 1744 (2017). The Court held that OGS’s conduct
 violated the First Amendment “irrespective of whether we categorize
 [plaintiff’s] speech as commercial speech, speech in a public forum, or
 speech in a nonpublic forum.” Wandering Dago, 2018 WL 265383, at *7.

         The Court also rejected defendants’ argument that “any viewpoint
 discrimination on their part is of no moment because OGS’s denial of
 [plaintiff’s] application should be understood as a permissible manifestation
 of OGS’s own government speech—a refusal to endorse ethnic slurs in a



   475 Riverside Drive, Suite 300, New York, NY 10115 | (212) 854-9600 | jameel.jaffer@knightcolumbia.org
Case 1:17-cv-05205-NRB Document 60 Filed 01/23/18 Page 2 of 2



 state-sponsored program.” Id. at *10. To the contrary, the Court
 emphasized, “speech that is otherwise private does not become speech of
 the government merely because the government provides a forum for the
 speech or in some way allows or facilitates it.” Id. Because there was no
 evidence “of a well-established history of OGS’s controlling the names of
 Lunch Program vendors in order to tailor a government message,” and “no
 basis for thinking that the Lunch Program vendors’ names, any more than
 the names of other organizations that receive permits to use public lands for
 special events, are closely identified with the government,” the Court held
 that OGS’s denial of the plaintiff’s application was a government regulation
 of private speech, and not a form of government speech. Id. at *11.

        Wandering Dago further supports Plaintiffs’ position in this case
 that Defendants’ blocking of the Individual Plaintiffs from the
 @realDonaldTrump account violates the prohibition against viewpoint-
 based exclusion of speakers from a designated public forum. In particular,
 the Second Circuit effectively rejected the proposition, advanced by
 Defendants here, that in blocking the Individual Plaintiffs from the
 @realDonaldTrump account, the President is simply engaging in a form of
 government speech concerning whom to interact with on Twitter. See Defs.’
 Opp. Br. at 13-19.

                                       Respectfully,

                                       /s/ Jameel Jaffer
 Jessica Ring Amunson (pro hac         Jameel Jaffer (JJ-4653)
    vice)                              Katherine Fallow (KF-2535)
 Tassity S. Johnson (pro hac vice)     Carrie DeCell (motion for
 Jenner & Block LLP                        admission forthcoming)
 1099 New York Avenue, NW,             Alex Abdo (AA-0527)
 Suite 900                             Knight First Amendment Institute
 Washington, DC 20001                      at Columbia University
                                       314 Low Library
                                       535 West 116th Street
                                       New York, NY 10027
                                       (212) 854-9600
                                       Jameel.Jaffer@knightcolumbia.org

                                       Counsel for Plaintiffs




                                      2
Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 1 of 19




 EXHIBIT A
                Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 2 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383



                                                                of government message, and therefore government speech
                     2018 WL 265383                             doctrine did not shield denial from First Amendment’s
               United States Court of Appeals,                  prohibition of viewpoint discrimination;
                      Second Circuit.
                                                                [3]
                                                                    government contractor speech doctrine did not shield
   WANDERING DAGO, INC., Plaintiff–Appellant,                   denial of application from First Amendment’s prohibition
                          v.                                    of viewpoint discrimination;
  RoAnn M. DESTITO, Joseph J. Rabito, William F.
  Bruso, Jr., Aaron Walters, Defendants–Appellees,              [4]
                                                                   discrimination was subject to, and failed, heightened
  John Does, 1–5, New York State Office of General              scrutiny under First Amendment, irrespective of whether
    Services, New York Racing Association, Inc.,                owner’s speech was categorized as commercial speech,
  Christopher K. Kay, Stephen Travers, State of New             speech in public forum, or speech in nonpublic forum;
                  York, Defendants.                             and
                      Docket No. 16-622                         [5]
                                                                   denial of vendor’s application violated vendor’s equal
                              |                                 protection rights under selective-enforcement theory.
                      August Term, 2016
                              |
                  (Argued: January 31, 2017                     Reversed and remanded.
                              |
               Final submissions: June 26, 2017
                              |
                  Decided: January 3, 2018)
                                                                 West Headnotes (22)

Synopsis                                                         [1]
Background: Owner of food truck bearing name                            Federal Courts
“Wandering Dago” filed § 1983 action alleging that                        Summary judgment
decisions by New York State Office of General Services                  Federal Courts
(OGS) to deny its application to participate as food                      Summary judgment
vendor in Empire State Plaza Summer Outdoor Lunch
Program, and by New York State Racing Association                       A district court’s ruling on cross-motions for
(NYRA) to terminate its status as vendor at Saratoga Race               summary judgment is reviewed de novo, in each
Course violated its free speech and equal protection                    case construing the evidence in the light most
rights, and that termination constituted tortious                       favorable to the non-moving party. Fed. R. Civ.
interference with contract and business relationship. The               P. 56(a).
United States District Court for the Northern District of
New York, Mae A. D’Agostino, J., 2016 WL 843374,                        Cases that cite this headnote
granted summary judgment in defendants’ favor. Owner
appealed.


                                                                 [2]
                                                                        Constitutional Law
Holdings: The Court of Appeals, Susan L. Carney,
                                                                          Viewpoint or idea discrimination
Circuit Judge, held that:
[1]                                                                     Government discrimination against speech
   speech by vendors was not properly characterized as
                                                                        because of its message is presumed to be in
government speech, and therefore OGS violated First
                                                                        violation of the First Amendment. U.S. Const.
Amendment by preventing physical access to Plaza
                                                                        Amend. 1.
through its denial of vendor’s application to participate in
Program;
                                                                        Cases that cite this headnote
[2]
      denial of vendor’s application did not aid transmission

                  © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                 1
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 3 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

                                                                 Constitutional Law
                                                                   True threats

                                                                 The government has the ability to regulate
[3]
        Constitutional Law                                       speech, including the use of slurs, that
          Viewpoint or idea discrimination                       constitutes a “true threat” of violence,
        Constitutional Law                                       “harassment,” or “fighting words.” U.S. Const.
          Content-Based Regulations or Restrictions              Amend. 1.

        Viewpoint discrimination in violation of the
        First Amendment is a subset or particular                Cases that cite this headnote
        instance of the more general phenomenon of
        content discrimination, in which the government
        targets not subject matter but particular views
        taken by speakers on a subject. U.S. Const.
                                                           [7]
        Amend. 1.                                                Constitutional Law
                                                                   Commercial Speech in General

        Cases that cite this headnote                            Although ethnic slurs are used to express a
                                                                 variety of opinions and obtain a variety of
                                                                 effects, the mere use of these potentially
                                                                 offensive words in branding of a company and
                                                                 its products reflects a viewpoint and cannot be
[4]
        Constitutional Law                                       framed by the government as a larger
          Viewpoint or idea discrimination                       viewpoint-neutral category of speech content
                                                                 available to advance multiple viewpoints and
        The     government      discriminates   against          therefore subject to less First Amendment
        viewpoints in violation of the First Amendment           protection. U.S. Const. Amend. 1.
        when it disfavors certain speech because of the
        specific motivating ideology or the opinion or
        perspective of the speaker. U.S. Const. Amend.           Cases that cite this headnote
        1.


        Cases that cite this headnote
                                                           [8]
                                                                 Constitutional Law
                                                                   Government-sponsored speech

                                                                 When government speaks, it is not barred by the
[5]
        Constitutional Law                                       Free Speech Clause from determining the
          Freedom of Association                                 content of what it says; when it acts as a
                                                                 speaker, the government is entitled to favor
        Antidiscrimination laws can raise First                  certain views over others. U.S. Const. Amend. 1.
        Amendment concerns relating to associational
        rights. U.S. Const. Amend. 1.
                                                                 Cases that cite this headnote

        Cases that cite this headnote


                                                           [9]
                                                                 Constitutional Law
                                                                   Public squares, plazas, and greens
[6]
        Constitutional Law                                       States
          ‘Fighting words‘                                         Control and regulation of public buildings
        Constitutional Law                                       and places
          Harassment
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                              2
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 4 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

        Speech by vendors participating in Empire State           were not closely identified with government in
        Plaza Summer Outdoor Lunch Program as                     mind of public, venders visibly were merely
        sponsored by New York State Office of General             temporary feature of landscape, and incidental
        Services (OGS), which was event involving both            assistance that OGS provided to Lunch Program
        government and private individuals, was not               vendors would not lead reasonable observer
        properly characterized as government speech,              think that OGS adopted vendor’s branding. U.S.
        and therefore OGS violated First Amendment by             Const. Amend. 1.
        preventing physical access to Plaza through its
        denial of application to participate by vendor
        that branded its truck and products with ethnic           Cases that cite this headnote
        slurs, since OGS did not have well-established
        history of controlling names of Lunch Program
        vendors in order to tailor government message.
        U.S. Const. Amend. 1.                              [12]
                                                                  Constitutional Law
                                                                    Government funding
        Cases that cite this headnote
                                                                  The government may set spending priorities and
                                                                  selectively fund activities it believes to be in the
                                                                  public interest without violating the First
                                                                  Amendment free speech clause. U.S. Const.
[10]
        Constitutional Law                                        Amend. 1.
          Government-sponsored speech

        Speech that otherwise is private does not                 Cases that cite this headnote
        become speech of the government merely
        because the government provides a forum for
        the speech or in some way allows or facilitates
        it. U.S. Const. Amend. 1.                          [13]
                                                                  Constitutional Law
                                                                    Particular Issues and Applications
        Cases that cite this headnote
                                                                  In general, if a party objects to a condition on
                                                                  the receipt of government funding, its recourse
                                                                  is to decline the funds, but sometimes a funding
                                                                  condition can result in an unconstitutional
[11]
        Constitutional Law                                        burden on First Amendment rights. U.S. Const.
          Public squares, plazas, and greens                      Amend. 1.
        States
          Control and regulation of public buildings
        and places                                                Cases that cite this headnote

        Speech by vendors participating in Empire State
        Plaza Summer Outdoor Lunch Program as
        sponsored by New York State Office of General      [14]
        Services (OGS), which was event involving both            Constitutional Law
        government and private individuals, was not                 Public squares, plazas, and greens
        properly characterized as government speech,              States
        and therefore OGS violated First Amendment by               Control and regulation of public buildings
        preventing physical access to Plaza through its           and places
        denial of application to participate by vendor
        that branded its truck and products with ethnic           Denial by New York State Office of General
        slurs; even if OGS had history of screening               Services (OGS) of application by vendor that
        applications for various permits to use Empire            branded its truck and products with ethnic slurs
        State Plaza, names of vendors in Lunch Program            to participate as food vendor in Empire State
                                                                  Plaza Summer Outdoor Lunch Program did not
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                  3
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 5 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

        aid transmission of government message, and
        therefore government speech doctrine did not
                                                            [17]
        shield denial from First Amendment’s                       Constitutional Law
        prohibition of viewpoint discrimination; even if             Government Contracts
        OGS had legitimate interest in promoting                   Constitutional Law
        family-friendly messages, speaking directly                  Public squares, plazas, and greens
        itself or through selective subsidies, it did not          States
        organize Lunch Program for purpose of                        Control and regulation of public buildings
        conveying message, structure of program                    and places
        contemplated that participating vendors would
        bring some of their own diverse personal                   Acceptance of application by vendor that
        expression, and vendors were not accepted into             branded its truck and products with ethnic slurs
        Lunch Program because of their ability to help             to participate as food vendor in Empire State
        convey coherent government message. U.S.                   Plaza Summer Outdoor Lunch Program
        Const. Amend. 1.                                           sponsored by New York State Office of General
                                                                   Services (OGS) would not have effectively
                                                                   rendered vendor prospective government
        Cases that cite this headnote                              contractor, and therefore government contractor
                                                                   speech doctrine did not shield denial of
                                                                   application from First Amendment’s prohibition
                                                                   of viewpoint discrimination; although Lunch
[15]
                                                                   Program was economic arrangement involving
        Constitutional Law                                         OGS and private vendors, vendors stood to
          Government funding                                       generate revenue for themselves as result of
                                                                   arrangement, OGS indirectly benefited from
        Viewpoint-based funding decisions can be                   goods and services food vendors provided as
        sustained under the First Amendment as                     part of exchange, OGS only provided access to
        government speech when the government                      forum and modest nonmonetary assistance that
        disburses public funds to private entities to              facilitated use of that forum and OGS did not
        convey a governmental message; however, this               pay food vendors for their goods and services or
        principle does not apply when a government                 directly benefit from them. U.S. Const. Amend.
        program is not designed to promote a                       1.
        governmental message. U.S. Const. Amend. 1.

                                                                   Cases that cite this headnote
        Cases that cite this headnote



                                                            [18]
[16]
                                                                   Constitutional Law
        Constitutional Law                                           Vendors in general
          Government funding                                       Constitutional Law
                                                                     Public squares, plazas, and greens
        When a government program’s very concept                   States
        contemplates presenting a diversity of views                 Control and regulation of public buildings
        from participating private speakers, the                   and places
        government may not then single out a particular
        idea for suppression because it is dangerous or            New York State Office of General Services
        disfavored, and the government cannot recast a             (OGS) and New York State Racing Association
        condition on funding as a mere definition of its           (NYRA) engaged in viewpoint discrimination
        program. U.S. Const. Amend. 1.                             when they denied owner’s application to
                                                                   participate as food vendor in Empire State Plaza
        Cases that cite this headnote                              Summer Outdoor Lunch Program and
                                                                   terminated its status as vendor at Saratoga Race
                                                                   Course because it branded its truck and products
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                4
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 6 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

        with ethnic slurs, use of which was “offensive”
        and not “family friendly,” and therefore such              Cases that cite this headnote
        discrimination was subject to, and failed,
        heightened scrutiny under First Amendment,
        irrespective of whether owner’s speech was
        categorized as commercial speech, speech in
                                                            [21]
        public forum, or speech in nonpublic forum.                Constitutional Law
        U.S. Const. Amend. 1.                                        Enforcement, application, or administration in
                                                                   general

        Cases that cite this headnote                              To prevail on a selective-enforcement theory
                                                                   under the Equal Protection Clause, a claimant
                                                                   must show (1) that it was treated differently
                                                                   from other similarly situated businesses and (2)
                                                                   that such differential treatment was based on
[19]
        Constitutional Law                                         impermissible considerations such as race,
          Viewpoint or idea discrimination                         religion, intent to inhibit or punish the exercise
        Constitutional Law                                         of constitutional rights, or malicious or bad faith
          Government Property and Events                           intent to injure a person.

        In general, government viewpoint discrimination
        against private speech violates the First                  Cases that cite this headnote
        Amendment unless it is narrowly tailored to
        achieve a compelling government interest; this
        rule applies to private speech delivered on
        public property regardless of how the property is
                                                            [22]
        categorized under forum doctrine. U.S. Const.              Constitutional Law
        Amend. 1.                                                    Relation between state and federal rights
                                                                   Constitutional Law
                                                                     Federal/state cognates
        Cases that cite this headnote
                                                                   The New York State Constitution’s free speech
                                                                   and equal protection provisions are at least as
                                                                   protective as their federal counterparts. U.S.
                                                                   Const. Amends. 1, 14.
[20]
        Constitutional Law
          Freedom of speech and press
        States                                                     Cases that cite this headnote
          Control and regulation of public buildings
        and places

        Denial by New York State Office of General
        Services (OGS) of application by vendor that
        branded its truck and products with ethnic slurs    Attorneys and Law Firms
        to participate as food vendor in Empire State
                                                            GEORGE F. CARPINELLO (John F. Dew, on the brief),
        Plaza Summer Outdoor Lunch Program violated
                                                            Boies, Schiller & Flexner LLP, Albany, NY, for
        vendor’s equal protection rights under
                                                            Plaintiff–Appellant Wandering Dago, Inc.
        selective-enforcement theory, where OGS
        denied application because of vendor’s use of       ZAINAB A. CHAUDHRY, Assistant Solicitor General
        ethnic slurs; although OGS claimed that vendor      (Barbara D. Underwood, Solicitor General, Andrea Oser,
        failed to submit complete application on time,      Deputy Solicitor General, on the brief), for Eric T.
        other Lunch Program applications were               Schneiderman, Attorney General of the State of New
        approved despite being late or incomplete. U.S.     York, Albany, NY, for Defendants–Appellees RoAnn M.
        Const. Amend. 14.                                   Destito, Joseph J. Rabito, William F. Bruso, Jr., and
                                                            Aaron Walters.

               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                  5
              Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 7 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

Before: Calabresi and Carney, Circuit Judges, Amon,             [their] Italian heritage” and to their ancestors, who
District Judge.*                                                immigrated to the United States as day laborers. App. 73,
                                                                169. Using ethnic slurs in the names of their business and
                                                                of the food that they sell reflects that philosophy, in their
Opinion                                                         view. WD characterizes this practice as “signaling an
                                                                irreverent, blue collar solidarity with its customers” and
Susan L. Carney, Circuit Judge:                                 “signal[ing] to ... immigrant groups that this food truck is
                                                                for them.” Appellant’s Br. 3, 39. It notes that using slurs
                                                                in this way can “weaken the derogatory force” of the slur
*1 Plaintiff-appellant Wandering Dago, Inc., (“WD”)
                                                                or “convey affiliation with ... members of that minority
operates a food truck and brands itself and the food it sells
                                                                group.” Id. at 38 (internal quotation marks omitted).
with language generally viewed as ethnic slurs.
Defendants-appellees (“defendants”)1 are officials within
                                                                *2 OGS is a department of the New York State
the New York State Office of General Services (“OGS”)
                                                                government. It is charged with managing and leasing real
who played a part in twice denying WD’s applications to
                                                                property, building and maintaining state facilities,
participate as a food vendor in the Summer Outdoor
                                                                contracting for goods and services on behalf of the State,
Lunch Program (“Lunch Program”), an activity that is
                                                                and providing other administrative support services.
organized by OGS and takes place in Albany’s Empire
                                                                Defendant-appellee RoAnn M. Destito is the
State Plaza annually in the summer months. WD contends
                                                                Commissioner of OGS. Defendant-appellee Joseph J.
that defendants violated its rights to free speech and equal
                                                                Rabito was the Executive Deputy Commissioner of OGS.
protection under the United States Constitution and the
                                                                Defendant-appellee William F. Bruso, Jr., is an associate
New York State Constitution by denying WD’s
                                                                attorney working for OGS, and defendant-appellee Aaron
application because of its branding practices.
                                                                Walters is employed by OGS as a promotions and public
                                                                affairs agent.
We conclude that the District Court erred in granting
summary judgment in defendants’ favor, and should
                                                                Empire State Plaza, in Albany, is owned by the State of
instead have awarded judgment to WD. It is undisputed
                                                                New York and operated by OGS. The Plaza incorporates
that defendants denied WD’s applications solely because
                                                                multiple state buildings, including the Corning Tower,
of its ethnic-slur branding. The Supreme Court’s recent
                                                                four agency buildings, the Swan Street Building, the
decision in Matal v. Tam, ––– U.S. ––––, 137 S.Ct. 1744,
                                                                Legislative Office Building, the Robert Abrams Justice
198 L.Ed.2d 366 (2017), clarifies that this action amounts
                                                                Building, the Egg Center for Performing Arts (the “Egg”),
to viewpoint discrimination and, if not government speech
                                                                the Cultural Education Center (which contains the State
or otherwise protected, is prohibited by the First
                                                                Museum and the State Library), and the New York State
Amendment. That the action violates the First
                                                                Capitol Building, all of which are connected by an
Amendment leads directly to the conclusion that
                                                                underground public concourse. The “Plaza level” of the
defendants also violated WD’s equal protection rights and
                                                                Empire State Plaza is an open outdoor space featuring a
its rights under the New York State Constitution. We find
                                                                central reflecting pool. This outdoor area, on its own, is
unpersuasive defendants’ argument that their actions were
                                                                also sometimes referred to as the Empire State Plaza. For
unobjectionable because they were either part of OGS’s
                                                                our purposes, we use the term “Empire State Plaza” or
government speech or permissible regulation of a
                                                                simply the “Plaza” to refer solely to the outdoor area that
government contractor’s speech.
                                                                is at issue in this case.
For these reasons, the District Court’s judgment is
                                                                The Plaza is the site of a farmer’s market on certain
REVERSED and the cause is REMANDED for the entry
                                                                weekdays during the summer. Annually, several
of a revised judgment consistent with this opinion.
                                                                state-organized events are held in the space. These
                                                                include the African American Family Day, the Hispanic
                                                                Heritage Month celebration, the Food Festival, and the
                    BACKGROUND2
                                                                Fourth of July Festival. Subject to a permitting
WD is a New York corporation owned and operated by
                                                                requirement, the Plaza is also occasionally used by
Andrea Loguidice and Brandon Snooks. WD operates a
                                                                various private groups as a site for political rallies,
food truck using the “Wandering Dago” brand, serving
                                                                marches, and protests. OGS does not use the potential
food for a variety of functions, including catering events,
                                                                offensiveness of a political event as a basis for denying an
fairs and festivals, and street-side lunch service.
                                                                application for the requisite event permit, and it does not
Loguidice and Snooks declare that they view their food
                                                                review signs and speeches to be displayed as part of such
truck as “the people’s truck” and as giving a “nod to

                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                       6
              Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 8 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

an event in advance.                                            importance, we reproduce many of those policies here
                                                                verbatim, notwithstanding their combined length. They
Although OGS issues permits to individuals and                  included the following:
organizations that apply for permission to demonstrate on
OGS-controlled property, including the Plaza, some                  • The Office of General Services is soliciting food
demonstrations are allowed to occur without a permit,               vendors for the 2013 Empire State Plaza (ESP)
unless they present a disruption or a health or safety issue.       Summer Outdoor Lunch Program to be held daily on
According to OGS, the purpose of the permitting process             the Plaza at the Empire State Plaza in Albany, New
“is to provide OGS with notice of the likely size and               York. The 20 week season will run from Monday,
location of the demonstration so that OGS can provide               May 20th through Friday, October 4th.
adequate services and operational management.” App.
1013. Demonstrations also occur on the concourse                    • The Summer Outdoor Lunch Program Package
beneath the Plaza, some with permits and some without.              includes: [among other things] 20 feet of vending
                                                                    space which includes electrical hookup and access to
Defendants contend, but WD disputes, that OGS has a                 water ....
consistent policy of allowing only “family-friendly”
events on the Plaza when OGS is operating the event.                • The cost for full participation, 5 days a week for 20
App. 1027. Deputy Commissioner Rabito says that during              weeks, is $1,500.00; participation on Wednesdays
African American Family Day 2010, he directed an OGS                and Fridays only, for 20 weeks, is $1,000.00. All
employee not to hire one of the proposed dance troupes              fees are due with your completed application no later
because its dress and type of dance were deemed not                 than May 10, 2013. Interested parties must apply for
family-friendly. And OGS once removed a singer from                 a vending permit and meet all insurance and
the stage during a similar event for using the n-word.              financial requirements in order to participate in the
Rabito asserts that, “during the course of an                       2013 ESP Outdoor Lunch Program.
OGS-sponsored event on the Plaza, OGS has directed
                                                                    • Vendors will not be allowed to provide vending
vendors that are permitted to sell products at the Plaza as
                                                                    services at the Empire State Plaza until they are in
part of OGS-sponsored events or programs to remove
                                                                    receipt of written approval of their application to
items from their stalls that violated OGS’s family-friendly
                                                                    participate in the Outdoor Lunch Program.
[policy], including replica ‘black face’ figurines, panties
with ‘Kiss Me I’m Irish’ printed on them, fertility                 • Unless prior arrangements have been made with
pendants with a phallus that becomes erect when a chain             OGS, all vendors are expected to complete the entire
is pulled, and marijuana leaf belt buckles.” App. 395.              season.
*3 In the spring of 2013, OGS began planning a program              • Vending hours are from 9:00 a.m.–2:00 p.m.
that would, daily, allow a limited number of vendors to             Vendors are not allowed to sell prior to or after these
sell food items from trucks parked at designated spots on           hours.
the East Roadway, located on the east side of the Plaza,
between the reflecting pool and the Egg. In prior years, a          • Each vendor will be assigned a specific vending
single private company under contract with the state,               location; all space assignment will be at the
Sodexo, had provided food services for an outdoor lunch             discretion of OGS.
program, but Sodexo’s contract was not renewed for
2013.                                                               • The sale or distribution of products other than food
                                                                    or beverage items is prohibited.
Under the new Lunch Program, OGS grants permits to
qualified food vendors to participate in providing food             • Vendors may only sell menu items approved by the
during lunchtime hours to state employees as well as to             Albany County Department of Health and permitted
visitors who come to the Capitol and adjacent state                 per the Vendor’s vending permit for the ESP
buildings and parks in the summer and early fall months.            Outdoor Lunch Program. Vendors wishing to add
The Lunch Program requires vendors seeking to                       additional items to their menu must request approval
participate to apply to OGS for a permit. OGS determines            from the Albany County Department of Health and
the applicant’s eligibility to participate.                         provide OGS’ Bureau of Food Services with a copy
                                                                    of the revised permit. OGS reserves the right to
The application for the 2013 Lunch Program informed                 prohibit the sale, display or distribution of certain
vendors of several OGS policies. Because of their                   items if, in its sole opinion, these items may
                                                                    reasonably cause concern such as public safety.
                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     7
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 9 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

    • All vendors are expected to conduct themselves          advertised the Lunch Program on a closed-circuit
    with courtesy and in an orderly manner. Arguments,        television system located throughout Empire State Plaza’s
    harassment, sexual harassment, name-calling,              concourse, but without listing the names of the vendors. It
    profane language, or fighting are grounds for             promoted the Lunch Program on its Facebook page and
    revocation of the vendor permit.                          other social media websites. And it publicized the
                                                              Program on a food critic’s blog.
    • OGS reserves the right to change the location,
    dates, hours, or to terminate entirely the operation of   On February 27, 2013, Loguidice contacted OGS to
    the program at any time and without prior notice to       inquire about WD’s possible participation in the 2013
    the vendor.                                               Lunch Program. On May 10, 2013, Aaron Walters of
                                                              OGS left a voicemail message for Loguidice, advising her
    *4 • Vendors will not refer to themselves as              that WD could apply. On May 17, 2013, Loguidice faxed
    “sponsor,” “co-sponsor” or other terms conferring         WD’s application to OGS. WD’s application included its
    status other than of a participant.                       proposed menu, which featured sandwiches with the
                                                              following names: “Dago,” “Castro,” “American Idiot,”
App. 401–03 (underscoring in original).                       “Goombah,” “Guido,” “Polack,” “El Guapo,” and
                                                              “KaSchloppas.” App. 1034. Loguidice neglected to
Applicants to the 2013 Lunch Program also signed a            include the application’s Appendix B, which is designed
“Plaza Vendor Permit Agreement for Empire State Plaza         to contain the vendor’s contact information and tax
Vendors,” agreeing to abide by the rules set forth above      identification number, and a description of the type of
(among others). The permit agreement’s preamble               vending operation, the space required, the applicant’s
contained the following language:                             electrical needs, and other details. At least ten other
                                                              vendors applied to participate in the 2013 Program.
  WHEREAS, OGS has management supervision over
  the general domain of the food service operations at the
                                                              Soon after receiving WD’s application, OGS officials
  Empire State Plaza (hereinafter referred to as “Plaza”),
                                                              approached Deputy Commissioner Rabito, seeking his
  WHEREAS, the State is interested in having food             views on WD’s proposed participation in the 2013 Lunch
  vendors take part in a lunchtime food vending program       Program. According to Rabito, he recognized the term
  for the sale and distribution of food/beverage products     “dago” as “a highly offensive term for Italians and his
  and services[,]                                             initial reaction was that the application would not be
                                                              approved.” App. 1034–35. Rabito recounted that he then
  WHEREAS, OGS will be operating such a food                  conducted a computer search of the term “dago,” which
  vending program, by subcontracting some or all of the       not only confirmed (he said) that it is an offensive
  responsibilities therefor[ ] to various independent food    derogatory term, but also revealed that it has been used to
  vendors, and                                                refer to people of Spanish and Portuguese descent, in
                                                              addition to Italians. In addition, Rabito declared that he
  WHEREAS, the Vendor wishes to sell these products           searched WD’s website and saw that other offensive
  in those areas and during those times OGS hereinafter       names appeared on its menu.
  designates.
                                                              *5 It is undisputed that Rabito thereafter denied WD’s
App. 407.                                                     application solely because of those offensive terms, and
                                                              not on other possible grounds such as the application’s
The Lunch Program was instituted to provide lunch             incompleteness. Defendants characterize Rabito’s act as a
options to government employees and visitors.                 denial “on the grounds that its name contains an offensive
Defendants contend more specifically, but WD disputes,        ethnic slur and does not fit with OGS’ policy of providing
that the Lunch Program “was created as an extension of        family-friendly programming.” App. 1035. WD
the cafeteria services at the [Plaza] in order to meet the    characterizes the act as a denial merely on the ground that
practical need to provide summer outdoor lunch options,       Rabito found its branding “offensive,” without reference
to the approximately 11,000 State employees who work at       to “any statute[,] regulation, policy, or other source of
ESP, as well as visitors to the Capitol, State Museum,        guidance in making his decision.” Id.
performing arts center (The Egg), and the various
monuments and memorial[s] at [the Plaza].” App. 1026.         Later on the day of Rabito’s denial, OGS advised all
                                                              applicants other than WD that their applications to
Defendants claim that OGS informed the public about the       participate in the 2013 Lunch Program had been accepted.
Lunch Program in several different ways. For example, it
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                    8
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 10 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

Among the vendors accepted was a truck named “Slidin’         government-owned forum, as to which the First
Dirty,” a slang reference, apparently, both to small          Amendment’s protections would not prevent OGS’s
hamburgers and to the act of driving while in possession      denial. Unsure of which category applied, the court
of drugs or firearms. App. 1036–37.3 Although none            concluded that WD’s claim failed under each. It also
dispute that Rabito’s decision rested solely on WD’s          rejected WD’s federal equal protection claim and the
offensive branding, when OGS formally notified WD of          parallel free speech and equal protection claims under the
its permit denial on May 20, 2013, it cited as reasons both   New York State Constitution.
WD’s offensive name and its failure to submit a complete
application before the stated deadline. OGS approved          *6 WD timely appealed.
other applications that were late and/or incomplete,
however.

In the fall of 2013, OGS adopted a new procedure to
assess the applications of outside vendors seeking to                               DISCUSSION
participate in its events and programs. Under the new
procedure, each event or program would have a set of          WD argues that branding its business with language
explicit criteria by which applications would be scored,      commonly viewed as ethnic slurs while participating in
and explicit scoring cutoffs to determine which applicants    the Lunch Program at the Empire State Plaza is a form of
would be accepted.                                            commercial speech in a quintessential public forum, and
                                                              that therefore OGS’s actions must be subjected to close
On May 5, 2014, WD submitted a timely and complete            judicial scrutiny. Further, WD contends that, regardless of
application for the 2014 Lunch Program. The application       the forum’s nature, defendants violated its First
was reviewed by OGS employees designated as the               Amendment rights by discriminating against its
selection committee, was scored, and received a score         viewpoint, and necessarily also its equal protection rights
sufficient for acceptance into the program. Nevertheless,     and rights under the New York State Constitution. It
the application was denied. WD received a letter dated        challenges OGS’s contention that defendants’ actions
May 16, 2014, from Bruso, advising it that its application    constituted government speech or regulation of a
had been denied “due to your firm’s name as previously        government contractor’s speech, as well as the
described.” App. 659, 1018. Among the eight complete          permissibility of the District Court’s sua sponte
applications submitted that year, WD’s was the only one       addressing those issues. In addition, WD argues that the
not accepted.                                                 standard by which OGS decision-makers evaluated Lunch
                                                              Program         applications     allowed        defendants,
WD filed this section 1983 lawsuit on August 27, 2013. In     unconstitutionally, to impose prior restraints at their
its amended complaint, WD alleges that OGS officials          discretion.
violated its rights to free speech and equal protection
under the United States Constitution and the New York         While not disputing that WD’s use of ethnic slurs in the
State Constitution by denying its application for a vendor    branding of its food truck is a form of speech, defendants
permit in the 2013 and 2014 Lunch Programs on the basis       counter that the Lunch Program is a nonpublic forum; that
of its branding. WD seeks injunctive and declaratory          commercial speech doctrine does not apply to speech
relief, along with attorney’s fees. It has abandoned its      made in this context; and that prohibiting the use of ethnic
claim for money damages.                                      slurs is a reasonable and viewpoint-neutral regulation.
                                                              Turning to the issue of discretion, defendants argue that
The parties filed cross-motions for summary judgment,         OGS’s asserted “family-friendly” policy, in both its
and in March 2016, the District Court denied WD’s             written and unwritten expressions, sufficiently
motion, granted the defense’s motion, and entered             circumscribes its decision-makers’ discretion in
judgment in favor of defendants Bruso, Destito, Rabito,       evaluating Lunch Program applications to survive
and Walters. Wandering Dago, Inc. v. Destito, No.             constitutional challenge. They also maintain that their
1:13-CV-1053, 2016 WL 843374 (N.D.N.Y. Mar. 1,                actions were part of OGS’s government speech, or at least
2016). The District Court rejected WD’s argument that its     regulation of a government contractor’s speech, and are
speech—again, the name of its truck and food                  therefore not subject to the same degree of First
offerings—was protected by the commercial speech              Amendment scrutiny as restrictions on private speech.
doctrine. Rather, it concluded that WD’s speech must be       Finally, on the same reasoning, they contend that WD’s
considered either government speech, speech by a              equal protection and New York State Constitution claims
government contractor, or private speech in a                 fail.


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     9
            Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 11 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

For the reasons set out below, we conclude that the          portion of the District Court’s judgment that concerns the
District Court should have granted summary judgment in       constitutionality of OGS’s decisions to deny WD’s Lunch
WD’s favor and not for defendants. By rejecting WD’s         Program applications.
application only on the ground of its branding, defendants
impermissibly discriminated against WD’s viewpoint and
therefore ran afoul of the First Amendment, whether
WD’s speech is categorized as commercial speech, speech
in a public forum, or speech in a nonpublic forum. See                         A. Viewpoint discrimination
Matal v. Tam, –––U.S. ––––, 137 S.Ct. 1744, 198 L.Ed.2d
366 (2017). Defendants’ actions are not shielded by          As set out above, WD contends that defendants
doctrines applicable to government speech and                discriminated against its viewpoint when, because the
government contractor speech. Although bearing some          WD truck and its products were branded with ethnic slurs,
similarities to regulation of these types of speech,         they denied WD’s Lunch Program application.
defendants’ actions are properly characterized as            Defendants agree that they denied WD’s application
viewpoint-based regulation of private speech. In light of    because of its use of what they saw as ethnic slurs. They
those conclusions, which entitle WD to the injunctive        argue, however, that WD’s use of this language did not
relief it seeks, we need not reach WD’s facial First         reflect any real “viewpoint”: when deposed, defendants
Amendment challenge concerning discretionary prior           observe, Loguidice and Snooks described their use of the
restraints. Finally, from our First Amendment analysis, it   language as nothing more than a “nod to [their] Italian
follows that the District Court reached erroneous            heritage” and as part of how they presented WD as “the
conclusions regarding WD’s equal protection and New          people’s truck.” App. 73, 169. According to defendants,
York State Constitution claims.                              WD’s adoption of a coherent message of “irreverent,
                                                             blue-collar solidarity” has been “manufacture[d] ...
*7 [1]We review de novo “a district court’s ruling on        post-hoc.” Appellees’ Br. 38. Defendants also contend
cross-motions for summary judgment, in each case             that they rejected WD’s application not because of any
construing the evidence in the light most favorable to the   message that WD might have intended to convey, but
non-moving party.” Novella v. Westchester Cty., 661 F.3d     rather because WD’s use of ethnic slurs was “offensive”
128, 139 (2d Cir. 2011). Summary judgment may be             and not “family friendly.” Id. at 39. For the reasons set
granted if there is “no genuine dispute as to any material   out below, and in light of the Supreme Court’s recent
fact” and the moving party is “entitled to judgment as a     decision in Matal v. Tam, ––– U.S. ––––, 137 S.Ct. 1744,
matter of law.” Fed. R. Civ. P. 56(a).                       198 L.Ed.2d 366 (2017), we hold that OGS’s denials
                                                             amounted to viewpoint discrimination.
                                                             [2]   [3]   [4]
                                                                       Government “[d]iscrimination against speech
   I. OGS’s decisions to deny WD’s Lunch Program             because of its message is presumed to be
   applications                                              unconstitutional.” Rosenberger v. Rector & Visitors of
As set out below, the constitutionality of defendants’       Univ. of Va., 515 U.S. 819, 828, 115 S.Ct. 2510, 132
actions depends on what OGS was targeting—content or a       L.Ed.2d 700 (1995). “Viewpoint discrimination is a
viewpoint—when it denied WD’s Lunch Program                  ‘subset or particular instance of the more general
applications and whether WD’s branding, if WD had been       phenomenon of content discrimination,’ in which ‘the
included in the Lunch Program, would have been WD’s          government targets not subject matter but particular views
own private speech or, instead, a form of government         taken by speakers on a subject.’ ” Make the Rd. by
speech. The answers to those questions, in turn, set the     Walking, Inc. v. Turner, 378 F.3d 133, 150 (2d Cir. 2004)
level of constitutional scrutiny we must apply as we         (citation omitted) (quoting Rosenberger, 515 U.S. at 829,
evaluate WD’s challenges to defendants’ actions.             831, 115 S.Ct. 2510). The government discriminates
                                                             against viewpoints when it disfavors certain speech
We conclude that defendants engaged in viewpoint             because of “the specific motivating ideology or the
discrimination when they denied WD’s applications            opinion or perspective of the speaker.” Rosenberger, 515
because WD branded its truck and products with ethnic        U.S. at 829, 115 S.Ct. 2510.
slurs. We reject defendants’ arguments that WD’s speech
should be seen as government speech. As a result,            *8 As we have noted, “the distinction between content
defendants’ actions are subject to, and fail, heightened     discrimination ... and viewpoint discrimination ... is
scrutiny, irrespective of whether we categorize WD’s         somewhat imprecise.” Make the Rd. by Walking, 378 F.3d
speech as commercial speech, speech in a public forum,       at 150; see also Rosenberger, 515 U.S. at 831, 115 S.Ct.
or speech in a nonpublic forum. We therefore reverse that    2510 (“[T]he distinction is not a precise one.”). But the
               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                 10
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 12 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

Supreme Court’s recent decision in Matal v. Tam, –––            viewpoint discrimination by tying censorship to the
U.S. ––––, 137 S.Ct. 1744, 198 L.Ed.2d 366 (2017),              [expected] reaction of the speaker’s audience,” rather than
provides substantial guidance regarding viewpoint               to the speaker’s views or intentions. Id. at 1766–67. That
discrimination in the context of speech labeled                 is because “a speech burden based on audience reactions
“offensive”—in particular, language generally perceived         is simply government hostility and intervention in a
as ethnic slurs. In Matal, the Court addressed the              different guise”—“[t]he speech is targeted, after all, based
constitutionality of a statutory provision “prohibit[ing] the   on the government’s disapproval of the speaker’s choice
registration of a trademark ‘which may disparage ...            of message.” Id. at 1767.
persons, living or dead, institutions, beliefs, or national
symbols, or bring them into contempt, or disrepute.’ ” Id.      Applying Matal to the facts presented here leaves little
at 1753 (quoting 15 U.S.C. § 1052(a)). The U.S. Patent          doubt that defendants’ actions in rejecting WD’s speech
and Trademark Office (“PTO”) applied the statute to             are correctly seen as viewpoint, not merely content,
reject proposed marks, including that proposed in Matal,        discrimination. Wherever one might draw the line
if a “substantial composite ... of the referenced group         between expressions of “viewpoint” and other categories
would find the proposed mark ... to be disparaging in the       of speech content in a different context, Matal is clear that
context of contemporary attitudes,” whether or not the          “[g]iving offense is a viewpoint” when it comes to ethnic
applicant was a member of that group or “ha[d] good             slurs, id. at 1763 (Alito, J. )—at least when giving
intentions” in using the term. Id. at 1754. At issue in the     “offense” to an audience is the sole effect that the
case was the PTO’s rejection of an application to register      government is targeting. See also id. at 1766 (Kennedy,
the mark “The Slants,” the name of a musical band, which        J., concurring) (“[T]he Government’s disapproval of a
the PTO judged to be an ethnic slur offensive or                subset of messages it finds offensive ... is the essence of
derogatory to Asian–Americans. The band, whose                  viewpoint discrimination.”).
members were Asian–American, contended that their use
                                                                [5]
of the slur helped them “ ‘reclaim’ the term and drain its          In other contexts, however, ethnic slurs might cause
denigrating force.” Id. at 1751.                                negative effects of a different sort—that is, not mere
                                                                “offense”—that the government could target without
Although split between two opinions, all eight Justices         engaging in viewpoint discrimination. A hostile work
participating in Matal concluded that the PTO’s rejection       environment claim under antidiscrimination law is one
of The Slants’ mark constituted unconstitutional                example. Most antidiscrimination laws “regulate[ ]
viewpoint discrimination. See id. at 1763 (Justice Alito’s      membership and employment policies as conduct, not as
lead opinion joined by three other Justices), 1765 (Justice     expression,” and “prohibit[ ] discriminatory membership
Kennedy’s concurrence joined, in relevant part, by three        and employment policies not because of the viewpoints
other Justices). Importantly, they reached that conclusion      such policies express, but because of the immediate harms
even though the trademark application at issue “was             ... such discrimination causes.” Boy Scouts of Am. v.
denied not because the Government thought [the                  Wyman, 335 F.3d 80, 93 (2d Cir. 2003). These laws,
applicant’s] object was to demean or offend but because         while perhaps causing “viewpoint disparity” in
the Government thought his trademark would have that            workplaces, are generally not considered viewpoint
effect on at least some Asian–Americans.” Id. at 1766           discriminatory.4 Id. Nothing in Matal or this opinion
(Kennedy, J., concurring) (emphasis added); see also id.        changes that.
at 1763 (Alito, J.) (“[The statute] denies registration to
any mark that is offensive to a substantial percentage of       *9 [6]Nor does Matal call into question the government’s
the members of any group.”).                                    ability to regulate speech, including the use of slurs, that
                                                                constitutes a “true threat” of violence, Virginia v. Black,
Justice Kennedy’s concurrence explains further why the          538 U.S. 343, 359–60, 123 S.Ct. 1536, 155 L.Ed.2d 535
PTO’s practice was not saved by either its “appli[cation]       (2003), “harassment,” Hill v. Colorado, 530 U.S. 703,
in equal measure to any trademark that demeans or               723–24, 120 S.Ct. 2480, 147 L.Ed.2d 597 (2000), or
offends” or by the PTO’s disregard of “the applicant’s          “fighting words,” R.A.V. v. City of St. Paul, 505 U.S. 377,
personal views or reasons for using the mark.” Id. at           386, 112 S.Ct. 2538, 120 L.Ed.2d 305 (1992) (observing
1766. As to the first point, the concurrence stresses that      that fighting words have an “unprotected ... nonspeech
“mandating positivity ... might silence dissent and distort     element” (internal quotation marks omitted)); NLRB v.
the marketplace of ideas” even though the mandate is            Pier Sixty, LLC, 855 F.3d 115, 124 n.46 (2d Cir. 2017)
applied evenhandedly to all participants. Id. As to the         (describing fighting words as “so insulting in both content
second point, the concurrence rejects the notion that the       and delivery that they are likely to provoke the listener to
government can “insulate a law from charges of                  respond violently”). Defendants here, however, have not

                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                      11
               Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 13 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

argued that WD’s speech falls within these unprotected
categories.
[7]
  Ultimately, we think Matal compels the conclusion that                        1. Government speech
defendants have unconstitutionally discriminated against      [8] [9]
WD’s viewpoint by denying its Lunch Program                        “When government speaks, it is not barred by the
applications because WD branded itself and its products       Free Speech Clause from determining the content of what
with ethnic slurs. Although ethnic slurs are used to          it says.” Walker v. Tex. Div., Sons of Confederate
express a variety of opinions and obtain a variety of         Veterans, Inc., ––– U.S. ––––, 135 S.Ct. 2239, 2245, 192
effects, under Matal the mere use of these potentially        L.Ed.2d 274 (2015). When it acts as a speaker, the
offensive words in the factual setting presented here         government is entitled to favor certain views over others.
reflects a viewpoint and cannot be framed by the              See id. at 2251. The question is whether speech by the
government as a larger viewpoint-neutral category of          vendors participating in the Lunch Program—an event
speech content available to advance multiple viewpoints       involving    both    the    government      and    private
and therefore subject to less First Amendment protection.     individuals—is properly characterized by defendants as
                                                              government speech. For the reasons set out below, we
Thus, contrary to defendants’ suggestion, we need not         find the government speech characterization inapt here.
delineate the full extent of the message that Loguidice and
Snooks were trying to convey. Whatever the intended           The Supreme Court has identified forms of speech
message, WD’s use of ethnic slurs reflects a viewpoint        belonging to the government despite private individuals’
about when and how such language should be used.              involvement. In Walker, the Court held that specialty
Further, it matters not that defendants, like the PTO in      automobile license plates issued by Texas were
Matal, might well have targeted ethnic slurs solely           government speech over which the government could
because of the audience’s expected reaction, rather than      exercise editorial control. The Court cited three factors
because of WD’s intended message. Defendants engaged          underlying its conclusion: (1) “the history of license
in viewpoint discrimination here even if the denial of        plates show[ed] that ... they long ha[d] communicated
WD’s application resulted from an across-the-board            messages from the States,” id. at 2248; (2) “license plate
prohibition applicable to all speakers without regard to      designs [we]re often closely identified in the public mind
their intended messages.                                      with the [State],” id. (internal quotation marks omitted);
                                                              and (3) “Texas maintain[ed] control over the messages
In light of the clarification provided by Matal, therefore,   conveyed on its specialty plates,” id. at 2249. Applying a
we conclude that the District Court erred in its              similar framework, the Court has also found to be
assessment: the undisputed facts show that defendants did     government speech a city’s refusal to place a private
engage in viewpoint discrimination when they denied           group’s permanent religious monument in the city’s park
WD’s Lunch Program applications solely because the            alongside other religious and secular displays. Pleasant
WD truck and its products were branded with ethnic slurs.     Grove City v. Summum, 555 U.S. 460, 481, 129 S.Ct.
Given Matal’s clarity on this point, we think it              1125, 172 L.Ed.2d 853 (2009). Explaining its rationale, it
unnecessary to discuss at length earlier precedents that      cited the history of government use of monuments to
could be interpreted as supporting a different conclusion.5   speak to the public; the fact that observers generally
                                                              expected permanent monuments to convey a message on
                                                              the property owner’s behalf; and the city’s control over
                                                              the selection of monuments. Id. at 470–73, 129 S.Ct.
                                                              1125.
      B. Government speech and government contractor
                                                              [10]
                          speech                                 At the same time, however, speech that is otherwise
                                                              private does not become speech of the government merely
*10 Defendants further contend, however, that any             because the government provides a forum for the speech
viewpoint discrimination on their part is of no moment        or in some way allows or facilitates it. See, e.g., Cornelius
because OGS’s denial of WD’s application should be            v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788,
understood as a permissible manifestation of OGS’s own        811–13, 105 S.Ct. 3439, 87 L.Ed.2d 567 (1985) (holding
government speech—a refusal to endorse ethnic slurs in a      that a charity drive organized by government was
state-sponsored program—or as lawful regulation of            nonpublic forum for private speakers to solicit donations,
speech made by a government contractor.6 We are not           and therefore that viewpoint discrimination was
persuaded by these arguments.                                 prohibited); Latino Officers Ass’n, N.Y., Inc. v. City of
                                                              N.Y., 196 F.3d 458, 468–69 (2d Cir. 1999) (holding that a
                 © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                   12
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 14 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

police department’s refusal to permit police affinity group    Empire State Plaza, OGS provides additional assistance to
to march in parades was not a form of government               vendors by publicizing the program and by providing
speech). In its recent decision in Matal, the Supreme          vendors with access to electricity and water on the Plaza
Court held that trademark registration, and the PTO’s          through facilities installed there. We have little trouble
refusal to register marks deemed offensive, was not a          rejecting the argument that OGS was expressing its own
form of government speech. Matal, 137 S.Ct. at 1757–60.        views when it refused to allow WD physical access to
The Matal Court unanimously underscored that it                Empire State Plaza—apart from this further
exercises “great caution before extending [its]                assistance—during the Lunch Program. But we think a
government-speech precedents,” citing the risk that            more difficult question is posed by OGS’s declining,
“private speech could be passed off as government              because of WD’s branding, to provide facilities and
speech” and “silence[d]” by “simply affixing a                 promotional support for WD’s participation in the Lunch
government seal of approval.” Id. at 1758. It characterized    Program. The First Amendment might conceivably bar
Walker ’s holding allowing state regulation of license         the former action (preventing physical access) but not the
plate content as “mark[ing] the outer bounds of the            latter (refusing additional support).7
government-speech doctrine.” Id. at 1760.
                                                               [12] [13]
                                                                      The additional assistance provided to permitted
*11 Applying the Walker/Summum factors here, we find it        vendors by OGS lends support to defendants’ assertion
hard to accept the proposition that OGS’s denial of WD’s       that WD’s participation would be perceived by the public
application was a form of government speech, rather than       as government speech, and also implicates another line of
regulation of private speech. Unlike in both Walker and        argument that is not clearly expressed in their brief: that
Summum, defendants have not pointed to any record              government may “set spending priorities” and “selectively
evidence of a well-established history of OGS’s                fund ... activities it believes to be in the public interest.”
controlling the names of Lunch Program vendors in order        Nat’l Endowment for Arts v. Finley, 524 U.S. 569, 588,
to tailor a government message. They concede that the          118 S.Ct. 2168, 141 L.Ed.2d 500 (1998). Arguably,
Lunch Program has existed for only “a few years,” and          OGS’s modest additional assistance was a form of
the history they cite is a general history of “sponsor[ing]”   selective funding. This argument, however, raises “a
assertedly “analogous programs” in the Plaza. Appellees’       notoriously tricky question of constitutional law.” Matal,
Br. 58.                                                        137 S.Ct. at 1760 (Alito, J.). In general, “if a party objects
                                                               to a condition on the receipt of [government] funding, its
[11]
   Further, to the extent that OGS does have a history of      recourse is to decline the funds,” but sometimes “a
screening applications for various permits to use Empire       funding condition can result in an unconstitutional burden
State Plaza, we see little to distinguish OGS’s role from      on First Amendment rights.” Agency for Int’l Dev. v. All.
the role filled by any state or local government entity that   for Open Soc’y Int’l, Inc., 570 U.S. 205, 133 S.Ct. 2321,
decides whether to grant permits to use any public lands.      2328, 186 L.Ed.2d 398 (2013).
The record contains no basis for thinking that Lunch
Program vendors’ names, any more than the names of             *12 Still, even taking account of the possible import of
other organizations that receive permits to use public         OGS’s additional assistance, we conclude that the record
lands for special events, are closely identified with the      in this case cannot support concluding that OGS
government “in the public mind.” Matal, 137 S.Ct. at           expressed its own message by denying WD’s Lunch
1760. In addition—drawing on the Court’s reasoning in          Program applications. For all the reasons already
Summum, which also involved the use of public land—we          reviewed above, we find it implausible that OGS, by
find it significant that the food vendors participating in     permitting WD’s full participation in the Lunch Program,
the Lunch Program are a merely temporary feature of the        would be viewed by the public as having adopted WD’s
landscape, and quite visibly so. In Summum, by contrast,       speech as its own. In Matal, the PTO “d[id] not dream up
the Court rested its holding in part on the notion that        the[ ] marks”; it merely registered them, a service
observers of a monument placed on government property          provided to many trademark applicants. Matal, 137 S.Ct.
would, partly from its permanence, generally infer that the    at 1758. Here, OGS did not “dream up” or adopt WD’s
monument expressed a message endorsed by the                   branding, nor would a reasonable observer think it did so
government. See 555 U.S. at 470–73, 129 S.Ct. 1125.            simply because of the incidental assistance that OGS
                                                               provides to Lunch Program vendors.
Having said that, we acknowledge that the Lunch
                                                               [14]
Program is more than simply a grant of access to public           We arrive at the same conclusion when the issue is
lands to which OGS has affixed a government seal and a         framed in terms of OGS’s entitlement to fund private
“program” designation. More than simply access to              speech selectively. To begin with, we are not so sure that

                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     13
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 15 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

OGS’s incidental assistance to vendors constitutes a            not designed to “promote a governmental message.” Id. at
significant government benefit separate and apart from          542, 121 S.Ct. 1043. When a government program’s very
providing access to the forum itself. As we discuss below,      concept contemplates presenting a diversity of views from
the government’s making available a forum for private           participating private speakers, the government may not
speech does not constitute a “subsidy,” and is                  then “single out a particular idea for suppression because
circumscribed by a specific set of constitutional               it [is] dangerous or disfavored.” Id. at 541, 121 S.Ct.
restrictions that includes a rule against viewpoint             1043; see also Nat’l Endowment for the Arts, 524 U.S. at
discrimination. It is true that OGS’s local publicity efforts   587, 118 S.Ct. 2168 (“[E]ven in the provision of
and provision of on-site water and electricity sources are      subsidies, the Government may not ai[m] at the
not elements of the most basic definition of the “forum” at     suppression of dangerous ideas.” (internal quotation
issue here: Empire State Plaza as a physical space. But in      marks omitted)). Further, the government “cannot recast a
creating forums for private activity, the government            condition on funding as a mere definition of its program
sometimes furnishes services or tangible goods, not             in every case, lest the First Amendment be reduced to a
access to a physical space. In Cornelius, for example, the      simple semantic exercise.” Legal Servs. Corp., 531 U.S.
private speech occurred in literature produced by the           at 547, 121 S.Ct. 1043.
government to promote a charity drive. See Cornelius,
473 U.S. at 791, 105 S.Ct. 3439.                                *13 The design of the Lunch Program conflicts with the
                                                                notion that OGS somehow employs the program—and the
As Justice Alito observed in a portion of his Matal             language used by the vendors—to convey a government
opinion joined by three other Justices, the government’s        message. Defendants stress that OGS aims to make the
provision of a speech-facilitating service (there,              Lunch Program “family-friendly,” and we do not doubt
trademark registration) in return for a fee—in the case of      that that is so. But the record does not document OGS’s
the Lunch Program, a $1500 fee—hardly resembles a               having organized the Lunch Program for the purpose of
typical government subsidy, see Matal, 137 S.Ct. at 1761        conveying any message at all. The purpose was to provide
(Alito, J.), and perhaps in some instances looks more like      casual outdoor lunch options to state employees and
creating a forum, see id. at 1763 (suggesting that forum        visitors to the capital. And the structure of the
doctrine, rather than precedents about “government              program—inviting outside vendors to bring their own
programs,” might be the proper framework for                    food trucks—seems to contemplate that, through signs
understanding trademark registration). In addition,             and advertising décor to differentiate one from the other,
treating as government “subsidies” not only “cash               participating vendors will bring some of their own diverse
subsidies or their equivalent,” but also “government            personal expression—not government messages—to
service[s] ... utilized by only some, e.g., the adjudication    Empire State Plaza. Nor does the record reflect that the
of private lawsuits and the use of public parks and             vendors accepted into the Lunch Program are selected
highways,” id. at 1763 (Alito, J.), would empower               because of their ability to help convey a coherent
government to place speech-related conditions on                government message. Instead, the reasonable inference to
citizens’ access to numerous essential public services.         be drawn from the record is that the Lunch Program
Adopting such a capacious view of government’s                  generally accepted all applicants during the relevant time
prerogative to fund speech selectively would represent a        period, and WD’s rejection was exceptional: for both the
step far beyond Supreme Court precedent and likely              2013 Lunch Program and the 2014 Lunch Program, every
conflict with the fundamental purposes of the First             vendor who completed an application was accepted,
Amendment.                                                      except for WD. OGS’s acceptance of the “Slidin’ Dirty”
                                                                truck in the Lunch Program further illustrates the point.
[15] [16]
       But even were we to accept the theory that OGS
“subsidizes” Lunch Program vendors’ speech beyond               We do not doubt that the government has a legitimate
merely creating a forum, we do not think that defendants        interest in promoting family-friendly messages, speaking
have avoided the First Amendment’s prohibition of               directly itself or through selective subsidies. But on the
government viewpoint discrimination. We acknowledge             undisputed facts in the record before us, we are unable to
that “viewpoint-based funding decisions can be sustained        conclude that OGS was aiding the transmission of a
[as government speech] ... [w]hen the government                government message by denying WD’s Lunch Program
disburses public funds to private entities to convey a          applications.
governmental message.” Legal Servs. Corp. v. Velazquez,
531 U.S. 533, 541, 121 S.Ct. 1043, 149 L.Ed.2d 63               For these reasons, we conclude that defendants’ actions
(2001) (internal quotation marks omitted). This principle       were not OGS’s “government speech.” The government
does not apply, however, when a government program is           speech doctrine therefore offers defendants no refuge

                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                   14
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 16 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

from the First Amendment’s prohibition of viewpoint              their goods and services and directly benefit from them.
discrimination.                                                  The only monetary exchange between the food vendors
                                                                 and OGS is a fee paid by the vendors to OGS.

                                                                 *14 In light of those considerations, we see the food
                                                                 vendors not as government contractors, but rather as
            2. Government contractor speech                      private entities that pay to access public benefits and, in
[17]
                                                                 using those benefits to their economic advantage,
   Defendants also argue that OGS’s actions should be            secondarily satisfy a government purpose. To categorize
seen as conditions placed on a prospective government            WD as a prospective government contractor would
contractor’s speech—that is, WD’s speech—and thus are            represent a considerable and, we think, unwarranted
subject to, and satisfy, the balancing of interests described    expansion of Umbehr. We therefore reject defendants’
by Board of County Commissioners, Wabaunsee County               argument and decline to analyze WD’s speech under a
v. Umbehr, 518 U.S. 668, 116 S.Ct. 2342, 135 L.Ed.2d             government contractor rubric.
843 (1996) (holding that First Amendment requires
fact-intensive and deferential balancing of government’s
interests against government contractors’ speech interests,
in line with the standard applied to government
employees under Pickering v. Board of Education, 391             C. Whether defendants’ viewpoint discrimination was
U.S. 563, 88 S.Ct. 1731, 20 L.Ed.2d 811 (1968)). We                                   justified
reject this argument as well.
                                                                 [18]
                                                                    Defendants have not argued that their actions, if
Defendants point out that OGS conceived of the Lunch             correctly characterized as viewpoint discrimination
Program as a substitute for the government’s prior               against WD’s private speech, were sufficiently justified
contract with Sodexo to provide lunch at the Plaza during        by OGS’s governmental interests to survive First
the summer months, and that the Lunch Program vendor             Amendment scrutiny. Nor do we think that that argument
application materials advised that OGS planned to                could be successfully made here, but we address it briefly
“subcontract[ ]” food service operations to interested           to complete the analytical picture.
vendors. App. 407. But defendants cite no authority for
                                                                 [19]
the proposition that these facts alone effectively render           In general, government viewpoint discrimination
WD a prospective government contractor. Neither                  against private speech violates the First Amendment
Pickering nor its progeny, including Umbehr, relied on by        unless it is narrowly tailored to achieve a compelling
defendants, are on point. In those cases, the government         government interest. Amidon v. Student Ass’n of State
agreed to pay public moneys to private individuals for           Univ. of N.Y. at Albany, 508 F.3d 94, 105–06 (2d Cir.
services to be rendered, and therefore had a stronger            2007); Husain v. Springer, 494 F.3d 108, 128 n.14 (2d
interest in restricting those individuals’ speech than in        Cir. 2007). This rule applies to private speech delivered
restricting the speech of the public at large. See Umbehr,       on public property regardless of how the property is
518 U.S. at 675–78, 116 S.Ct. 2342; Pickering, 391 U.S.          categorized under forum doctrine. See Make the Rd. by
at 568, 88 S.Ct. 1731.                                           Walking, 378 F.3d at 142–43. It is therefore unnecessary
                                                                 for us to identify the type of forum at issue here before
Our factual setting differs significantly. It is true that the   assessing whether OGS’s actions were justified: we
Lunch Program is an economic arrangement involving               would apply the same level of scrutiny whether WD
OGS and private vendors—an arrangement that OGS is               sought to speak in a public forum (as WD contends) or a
not compelled to enter into—and that the vendors stand to        nonpublic forum (as defendants contend).
generate revenue for themselves as a result of the
arrangement. It is also true that OGS indirectly benefits        As to the effect of classifying WD’s speech as
from the goods and services the food vendors provide as          commercial, the Supreme Court’s decision in Matal is
part of this exchange: through the program, it provides its      again instructive. Joined by three other Justices, Justice
employees outdoor lunch options. But that is where the           Alito refused to recognize the government’s “interest in
resemblance to government contracting ends. What OGS             preventing speech expressing ideas that offend” as a
provides in this exchange is access to a forum—an issue          “substantial interest” that could support commercial
governed by forum doctrine, not Umbehr—and modest                speech regulation under Central Hudson Gas & Electric
nonmonetary assistance that facilitates the use of that          Corp. v. Public Service Commission of New York, 447
forum. And it is those employees and other private               U.S. 557, 100 S.Ct. 2343, 65 L.Ed.2d 341 (1980). Matal,
citizens, not OGS, that actually pay the food vendors for        137 S.Ct. at 1764–65. Similarly, Justice Kennedy
                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     15
             Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 17 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

concluded in his concurrence in Matal that the statutory       as race, religion, intent to inhibit or punish the exercise of
provision at issue there was unconstitutional whether or       constitutional rights, or malicious or bad faith intent to
not the speech was “commercial” and subject to Central         injure a person.” Cine SK8, Inc. v. Town of Henrietta, 507
Hudson ’s relaxed standard. Id. at 1767. He explained that     F.3d 778, 790 (2d Cir. 2007) (internal quotation marks
“the viewpoint based discrimination at issue ... necessarily   omitted). WD argues that, while all other vendors
invoke[d] heightened scrutiny” and would “remain[ ] of         applying to participate in the Lunch Program—including
serious concern in the commercial context.” Id. It is          the “Slidin’ Dirty” truck—were granted permits, WD’s
possible that this “heightened scrutiny” of viewpoint          application was denied because of the exercise of its
discrimination in the commercial speech context is less        constitutional rights in branding itself and its products
exacting than the scrutiny applicable to viewpoint             with ethnic slurs.
discrimination outside that context. But Matal instructs
that viewpoint discrimination is scrutinized closely           We agree with WD that its selective-enforcement claim
whether or not it occurs in the commercial speech context.     has merit. Again, defendants do not dispute that they
                                                               denied WD’s Lunch Program applications because of
Reviewing the record and the parties’ submissions, we          WD’s use of ethnic slurs. And although defendants have
perceive no governmental interest of sufficient weight to      cited WD’s failure to submit a complete application on
justify defendants’ actions, regardless of how we might        time as an additional basis for denying the application, it
resolve the parties’ disagreement over the most                is undisputed that other Lunch Program applications were
appropriate categorization of WD’s speech (commercial          approved despite being late or incomplete. Defendants
speech, speech in a public forum, or speech in a nonpublic     point to nothing that distinguishes WD’s application from
forum).                                                        the other applications that they approved—aside from
                                                               their judgment, in violation of the First Amendment, that
                           ***                                 WD’s branding was too offensive to be permitted. This
                                                               demonstrates that defendants’ “differential treatment was
For these reasons, we conclude that the District Court         based on ... intent to inhibit or punish the exercise of
erred in entering summary judgment in defendants’ favor        constitutional rights.” Id.
on the question whether they violated WD’s First
Amendment rights by denying WD’s Lunch Program                 In light of these undisputed facts, the District Court
applications because its truck and products were branded       should have granted summary judgment in WD’s favor.
with language commonly seen as ethnic slurs. We further        We therefore reverse the District Court’s judgment as to
conclude that WD is entitled to summary judgment in its        WD’s selective-enforcement claim and instruct the
favor on that question. We therefore reverse that portion      District Court, on remand, to include in its order of relief
of the District Court’s judgment and remand the case with      a declaration that defendants violated WD’s equal
instructions for the District Court to enter an order          protection rights.
declaring that defendants’ conduct as to both the 2013 and
2014 applications violated WD’s First Amendment rights,
and enjoining defendants from denying WD’s future
Lunch Program applications because of WD’s use of                 III. Claims under the New York State Constitution
                                                               [22]
ethnic slurs in its branding.8                                    The New York State Constitution’s free speech and
                                                               equal protection provisions are at least as protective as
                                                               their federal counterparts. ONY, Inc. v. Cornerstone
                                                               Therapeutics, Inc., 720 F.3d 490, 498 (2d Cir. 2013)
   II. Selective-enforcement claim                             (citing Immuno AG. v. Moor–Jankowski, 77 N.Y.2d 235,
*15 [20]Our determination under Matal that defendants          566 N.Y.S.2d 906, 567 N.E.2d 1270, 1278 (1991)) (free
discriminated against WD’s viewpoint in violation of the       speech); Brown v. State, 89 N.Y.2d 172, 652 N.Y.S.2d
First Amendment leads us to conclude that the District         223, 674 N.E.2d 1129, 1140 (1996) (equal protection).
Court erred also in granting summary judgment in favor         We therefore also reverse the District Court’s judgment as
of defendants as to WD’s selective-enforcement claim           to WD’s claims under the New York State Constitution
under the Equal Protection Clause. We therefore reverse        and instruct the District Court to include a declaration of
this portion of the District Court’s judgment as well.         WD’s rights to free speech and equal protection under the
                                                               New York State Constitution in the order of relief.
[21]
   To prevail on its selective-enforcement theory, WD
must show “(1) that [it] was treated differently from other
similarly situated businesses and (2) that such differential
treatment was based on impermissible considerations such
                © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                     16
            Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 18 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

                    CONCLUSION
                                                                   *16 Accordingly, the District Court’s judgment is
For the foregoing reasons, we conclude that the District           REVERSED, and the cause is REMANDED with
Court should have granted summary judgment in WD’s                 instructions to the District Court to enter an order that: (1)
favor and should not have granted summary judgment for             declares that defendants’ conduct violated WD’s First
defendants. Under Matal, defendants discriminated                  Amendment rights and enjoins defendants from denying
against WD’s viewpoint and therefore ran afoul of the              WD’s future Lunch Program applications solely because
First Amendment, whether WD’s speech is categorized as             of WD’s use of ethnic slurs in its branding; (2) declares
commercial speech, speech in a public forum, or speech             that defendants violated WD’s equal protection rights;
in a nonpublic forum. Defendants’ actions are not                  and (3) declares that defendants violated WD’s rights to
rendered permissible by doctrines applicable to                    free speech and equal protection under the New York
government speech and government contractor speech.                State Constitution.
Although bearing some similarities to government speech
and the regulation of government contractor speech,
defendants’ actions are properly characterized as
viewpoint-based regulation of private speech. It follows           All Citations
from all of the above that the District Court also reached
erroneous conclusions regarding WD’s equal protection              --- F.3d ----, 2018 WL 265383
and New York State Constitution claims.

Footnotes

*      Judge Carol Bagley Amon, of the United States District Court for the Eastern District of New York, sitting by
       designation.

1      We refer to “defendants,” but note that not all of the original defendants are party to this appeal. The John Does named
       in the complaint remain unidentified. WD’s claims against the New York State Office of General Services and the State
       of New York were dismissed on sovereign immunity grounds; that dismissal is not challenged on appeal. Finally, WD
       filed a stipulation of dismissal of its claims against the New York Racing Association, Inc., Christopher K. Kay, and
       Stephen Travers.

2      Except where indicated, the facts described here are undisputed. They are drawn primarily from the statements of
       material facts submitted by the parties in conjunction with their cross-motions for summary judgment in accordance
       with Rule 7.1(a)(3) of the Local Rules of Practice of the United States District Court for the Northern District of New
       York.

3      Defendants have not expressly admitted that an application for a food truck named “Slidin’ Dirty” was accepted, but
       they have not challenged WD’s factual assertion that one was.

4      Antidiscrimination laws can, of course, raise First Amendment concerns of a different sort, relating to associational
       rights. See, e.g., Boy Scouts of Am. v. Dale, 530 U.S. 640, 120 S.Ct. 2446, 147 L.Ed.2d 554 (2000); Bd. of Dirs. of
       Rotary Int’l v. Rotary Club of Duarte, 481 U.S. 537, 107 S.Ct. 1940, 95 L.Ed.2d 474 (1987).

5      In Perry v. McDonald, for example, we concluded that a state did not engage in unlawful viewpoint discrimination when
       it rejected a request for a “SHTHPNS” vanity plate, while at the same time allowing plates such as “COWPIES,”
       “POOPER,” and “BM.” 280 F.3d 159, 170–71 (2d Cir. 2001). Although all the language on the plates was scatological,
       “SHTHPNS” was the only “offensive” plate because it contained “easily recognizable profanities.” Id. We held that the
       government was not targeting the worldview underlying the phrase “shit happens,” but rather the use of profanities to
       express that philosophy, and that the latter objective did not amount to viewpoint discrimination. Of course, following
       the Supreme Court’s decision in Walker v. Texas Division, Sons of Confederate Veterans, Inc., the state’s rejection of
       the vanity plate might now be permitted on the alternative ground that the plate’s language constituted government
       speech. ––– U.S. ––––, 135 S.Ct. 2239, 2246, 192 L.Ed.2d 274 (2015) (“[S]pecialty license plates issued pursuant to
       Texas’s statutory scheme convey government speech.”).

6      We note that the District Court raised and addressed these issues sua sponte without affording WD an opportunity to
       be heard on them. These issues, however, are legal in nature and, on appeal, have been fully briefed by both parties.
       In the interest of judicial economy, we therefore reach them now.


               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                          17
            Case 1:17-cv-05205-NRB Document 60-1 Filed 01/23/18 Page 19 of 19


Wandering Dago, Inc. v. Destito, --- F.3d ---- (2018)
2018 WL 265383

7      Of course, within the bounds of the First Amendment, OGS may place content-neutral restrictions on the time, place,
       and manner of speech delivered on government property. But defendants have not argued that their denial of WD’s
       application was motivated by legitimate concerns about the time, place, or manner of WD’s speech (e.g., crowding).
       Rather, their denial was motivated by the speech’s viewpoint.

8      In light of this disposition, we need not reach WD’s argument that OGS’s process for reviewing Lunch Program
       applications involved a facially unconstitutional exercise of discretion. See Amidon, 508 F.3d at 103 (discussing the
       “constitutional proscription against granting unbridled discretion in the prior restraint context”). WD’s facial challenge
       focuses on OGS’s decisions to reject otherwise eligible Lunch Program applicants who were, in OGS’s estimation,
       insufficiently “family-friendly.” In terms of relief, WD requests neither monetary damages, nor an injunction terminating
       the entire Lunch Program; WD seeks merely to have its application “considered on the same basis as all other
       applicants [’] and not on the basis of its speech.” Appellant’s Reply Br. 22. We have already concluded that, on the
       facts of this case, the First Amendment prohibits OGS from denying applicants a permit solely because their branding
       contains language that some might find objectionable. WD does not identify any other impermissibly discretionary
       facets of OGS’s process for reviewing Lunch Program applicants. We therefore see no need to assess WD’s theory of
       facial unconstitutionality.




End of Document                                               © 2018 Thomson Reuters. No claim to original U.S. Government Works.




               © 2018 Thomson Reuters. No claim to original U.S. Government Works.                                           18
